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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 21-cr-147-2 (CKK)
               v.                            :
                                             :
VIRGINIA MARIE SPENCER,                      :
                                             :
                      Defendant.             :


    OPPOSITION TO DEFENDANT’S MOTION TO CORRECT JUDGMENT UNDER
    FEDERAL RULE OF CRIMINAL PROCEDURE 35(A) AND TO STAY ENTRY OF
                  JUDGMENT AND COMMITMENT ORDER

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully opposes defendant Virginia Marie “Jenny” Spencer’s

Motion to Correct Judgment Under Federal Rule of Criminal Procedure 35(a) and to Stay Entry of

the Judgment and Commitment Order. As an initial matter, Rule 35(a) is not the appropriate

vehicle for this challenge. In her motion, the defendant claims the Court improperly imposed a

sentence of both incarceration and probation on her conviction for a class B misdemeanor, a petty

offense.1 However, the lone court of appeals to address this issue held 18 U.S.C. § 3561(a)(3)

“unquestionably” provided statutory authority to impose such a sentence on a petty-offense

defendant. United States v. Posley, 351 F.App’x 807, 809 (4th Cir. 2009). The defendant argues

that the government’s interpretation of Section 3561(a)(3)—and ispo facto the Fourth Circuit

Court of Appeals’ interpretation—irreconcilably conflicts with 18 U.S.C. § 3551(b).            The

defendant further argues that Section 3561(a)(3) does not authorize the imposition of such a




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 The defendant’s motion also argues the Court was not authorized to impose a term of “supervised
release” after a term of incarceration for a Class B misdemeanor. The Court did not impose a term
of supervised release in the instant case, but rather a term of probation. See Minute Order January
11, 2022.


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sentence.    Finally, the defendant raises unspecified constitutional concerns regarding the

imposition of such a sentence.

       Defendant’s motion is unsupported by the law and should be denied.

                                   PROCEDURAL HISTORY

       The Grand Jury returned a superseding indictment charging the defendant, Virginia Marie

“Jenny” Spencer, with one count of entering and remaining in a restricted building or grounds, in

violation of 18 U.S.C. § 1752(a)(1); one count of disorderly and disruptive conduct, in violation

of 18 U.S.C. § 1752(a)(2); and two misdemeanor offenses under 40 U.S.C. § 5104(e)(2). Doc. 14,

at 1-3. These charges implicate the defendant’s conduct at the U.S. Capitol on January 6, 2021.

       On September 9, 2021, pursuant to a written plea agreement, the defendant pled guilty to

Count Five of the Superseding Indictment, charging her with Parading, Demonstrating or Picketing

in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G), a class B misdemeanor, in

satisfaction of the charges against her.

       On January 7, 2022, this Court sentenced the defendant to three months incarceration,

thirty-six months’ probation and $500 in restitution. The defendant filed a motion to correct

judgment under Federal Rule of Criminal Procedure 35(a) on January 10, 2022. Doc. No. 66.

                                           ARGUMENT

             A. Rule 35 is not a proper vehicle for the defendant’s challenge.

       The defendant moves to “correct” the judgment in this case under Rule 35(a) of the Federal

Rules of Criminal Procedure. Rule 35(a) permits a court within 14 days of imposing a sentence to

“correct” that sentence if it “resulted from arithmetical, technical, or other clear error.” A

sentencing court’s authority under Rule 35(a) is “intended to be very narrow and to reach only to

those cases in which an obvious error or mistake has occurred in the sentence.” Fed. R. Crim. P.




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35, Advisory Committee Notes, 1991 Adoption; accord Baylor v. United States, 314 F. Supp. 47,

50 (D.D.C. 2004) (“Rule 35 serves the narrow function of allowing correction of technical errors

in a sentence.”). The “extremely limited” authority, United States v. Houston, 529 F.3d 743, 749

(6th Cir. 2008), conferred under Rule 35(a), is “limited to technical errors, such as scrivener’s

errors, and does not extend to substantive objections about the reasonableness of the sentence.”

United States v. Hernandez-Garcia, No. 20-cr-1116, 2021 WL 2198787, at *2 (S.D. Cal. May 6,

2020) (citing United States v. Ceballos, 671 F.3d 852, 854 (9th Cir. 2011)).

       Rule 35(a) is therefore not an appropriate basis for the relief the defendant seeks. Whatever

the merits of the defendant’s argument—and that argument is flawed, see infra at pp. 3-6—her

claim that the split sentence the Court imposed is a “technical” or “clear” error is plainly incorrect.

If the defendant, who conceded the legal permissibility of a split sentence at the sentencing hearing

(see infra at n.2), wishes to challenge that sentence, her sole recourse at this point is through an

appeal.2

            B. The Government’s Interpretation of Section 3561(a)(3) does not conflict with
               Section 3551(b).

       First, the defendant contends that 18 U.S.C. § 3551(b) requires a sentencing court to impose

either probation or imprisonment, but not both. See 18 U.S.C. § 3551(b) (indicating that a

defendant “shall be sentenced” to a probationary term “or” or a term of imprisonment). To be

sure, Section 3551(b) sets out the same “general rule” found in Section 3561(a)(3): that

“imposition of both probation and straight imprisonment” in the same sentencing hearing is not

generally permitted. United States v. Forbes, 172 F.3d 675, 676 (9th Cir. 1999). But Section




2
  Whether the defendant’s plea agreement or her concession at the sentencing hearing
independently foreclose appellate relief here is a separate question not presented in the defendant’s
motion.


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3551(a) notes that the sentencing provisions described there apply “[e]xcept as otherwise

specifically provided.” And, as noted below and in the government’s sentencing memorandum,

Section 3561(a)(3) does “provide[]” “otherwise”; it recognizes a carveout for petty offenses.

       Accordingly, Section 3561(a)(3) does not conflict with Section 3551(b).

           C. Section 3561(a)(3) Permits a Sentence of Continuous Incarceration and
              Probation for a Petty Offense.

       The statutory text of 18 U.S.C. § 3561(a)(3) permits a defendant to be sentenced to a term

of probation “unless” that defendant “is sentenced at the same time to a term of imprisonment for

the same or a different offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3). Thus, where

a defendant is sentenced for a petty offense, that defendant may be sentenced to a period of

continuous incarceration and a term of probation. United States v. Posley, supra. The sole court

of appeals to have considered this question, Posley, reached that straightforward conclusion. Id.;

see Cyclopedia of Federal Procedure, § 50:203, Capacity of court to impose probationary sentence

on defendant in conjunction with other sentence that imposes term of imprisonment (3d ed. 2021)

(“[W]here the defendant is being sentenced for a petty offense, a trial court may properly sentence

such individual to a term of continuous imprisonment for a period of time, as well as a sentence of

probation.”) (citing Posley).3

       Permitting a combined sentence of continuous incarceration and probation for petty

offenses is sensible because sentencing courts cannot impose supervised release on petty-offense

defendants. See 18 U.S.C. § 3583(b)(3); United States v. Jourdain, 2 F.3d 127, 1994 WL 209914,




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  The defendant acknowledged the Court’s authority to impose incarceration and probation during
the sentencing hearing. See Spencer sentencing transcript, page 25 (defense counsel: “The Court
has the discretion . . . to impose a sentence involving incarceration and/or probation, but I would
ask the Court to also consider a period of probation and perhaps a short period of home detention
with work release privileges. . . .”


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at *1 (8th Cir. 1994) (unpublished) (plain error to impose a term of supervised release for a petty

offense).

       It follows that a sentencing court may impose a combined sentence of incarceration and

probation where, as here, the defendant is convicted of a petty offense. 4 The defendant pleaded

guilty to one count of 40 U.S.C. § 5104(e)(2)(G): Parading, Demonstrating, or Picketing in the

Capitol Building, which is a “petty offense” that carries a maximum penalty that does not exceed

six months in prison and a $5,000 fine. See 18 U.S.C. § 19; see United States v. Soderna, 82 F.3d

1370, 1381 n.2 (7th Cir. 1996) (citations omitted) (noting that a petty offender may face a

sentence of up to five years in probation).

       The defendant notes that District of Columbia Chief Judge Beryl A. Howell recently

“considered” whether Section 3561(a)(3) authorized a sentence of straight incarceration with

probation- or a so-called “split sentence”- in United States v. Torrens (Case No. 21-cr-204-2) and

United States v. Griffith (Case No. 21-cr-204-4). However, Chief Judge Howell made no finding

or decision on the issue, as it was ultimately inapposite in those cases, stating in Torrens:

       “I am not going to get into the debate about whether he may also be subject to a split
       sentence, which is a matter that has taken up a lot of briefing in this case. And it is, sort of,
       this unusual situation, as was made clear in the sentencing of this defendant's codefendant
       yesterday, that even though the government takes the position that a split sentence is
       allowable for a petty offense, under 18 U.S.C. Section 3561(a)(3), the government hasn't
       recommended a split sentence for any petty offense conviction in this case, with this
       defendant or his codefendant, or in any other January 6th-related case… But I am not going
       to resolve that debate, that legal issue here, as tempting as it might be -- and as good as the
       briefing is from both sides on the issue because there is no necessity to given the planned
       sentence that I think is warranted in this case.”



4
  A sentencing court in a non-petty offense case may combine incarceration and probation only
where incarceration is made a condition of probation and imposed as a brief time period or through
“intermittent confinement.” United States v. Anderson, 787 F. Supp. 537, 539 (D. Md. 1992); see
18 U.S.C. § 3563(b)(10) (permitting sentencing court to require the defendant as a condition of
probation to “remain in custody of the Bureau of Prisons during nights, weekends, or other
intervals of time”).


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Torrens sentencing transcript, pages 44-45.

       Accordingly, the Posley case—and its holding that the sentence imposed on the instant

defendant is authorized by Section 3561(a)(3)—remains the sole authority on this issue.


                                         CONCLUSION

       For the foregoing reasons, and any additional reasons as may be cited at a hearing on this

motion, the government respectfully requests that the defendant’s motion be denied.


                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

I certify that a true and correct copy of this opposition was sent to counsel for the defendant,

Allen Orenberg, on January 13, 2022, via CM/ECF and/or by email.


                                                      __/s/____________________
                                                      Douglas G. Collyer




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